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                 Exhibit 11
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                                                         DEFENDANTS' MOTIONS FOR SUMMARY JUDGMENT

  NAME OF MOTION                                                                    DOCKET NO.         FILING DEFENDANT

                                                                                                       Hitachi, Ltd.
                                                                                                       Hitachi Displays, Ltd. (n/k/a Japan Display Inc.)
                                                                                                       Hitachi America Ltd.
                                                                                                       Hitachi Asia, Ltd.
  Hitachi Defendants’ Motion for Summary Judgment Based Upon Withdrawal and                            Hitachi Electronic Devises (USA), Inc.
                                                                                    Docket No. 2972
  Statutes of Limitations                                                                              Toshiba Corporation
                                                                                                       Toshiba America, Inc.
                                                                                                       Toshiba America Information Systems, Inc.
                                                                                                       Toshiba America Consumer Products, L.L.C.
                                                                                                       Toshiba America Electronic Components, Inc.


                                                                                                       Chunghwa Picture Tubes, Ltd.
                                                                                                       Chunghwa Picture Tubes (Malaysia) SDN. BHD.
  Defendants Chunghwa Picture Tubes, Ltd. and Chunghwa Picture Tubes (Malaysia)                        Toshiba Corporation
  SDN. BHD.'s Motion for Summary Judgment Direct Action Plaintiffs' State Law Claims Docket No. 2973   Toshiba America, Inc.
  on Due Process Grounds                                                                               Toshiba America Information Systems, Inc.
                                                                                                       Toshiba America Consumer Products, L.L.C.
                                                                                                       Toshiba America Electronic Components, Inc.


                                                                                                       Hitachi Displays, Ltd. (n/k/a Japan Display Inc.)
                                                                                                       Hitachi America Ltd.
                                                                                                       Hitachi Electronic Devises (USA), Inc.
  Hitachi Parties’ Motion for Summary Judgment Based Upon the Lack of Evidence of                      Toshiba Corporation
                                                                                    Docket No. 2976
  Participation in the Alleged Conspiracy                                                              Toshiba America, Inc.
                                                                                                       Toshiba America Information Systems, Inc.
                                                                                                       Toshiba America Consumer Products, L.L.C.
                                                                                                       Toshiba America Electronic Components, Inc.



                                                                                                       Toshiba Corporation
                                                                                                       Toshiba America, Inc.
                                                                                                       Toshiba America Consumer Products, LLC
                                                                                                       Toshiba America Information Systems, Inc.
                                                                                                       Toshiba America Electronic Components, Inc.
                                                                                                       Koninklijke Philips N.V.
                                                                                                       Philips Electronics North America Corporation
                                                                                                       Philips Taiwan Ltd.
                                                                                                       Philips do Brasil, Ltda.
                                                                                                       Panasonic Corporation (f/k/a Matsushita Electric Industrial Co., Ltd.)
                                                                                                       Panasonic Corporation of North America
                                                                                                       MT Picture Display Co., Ltd.
                                                                                                       Samsung SDI America, Inc.
                                                                                                       Samsung SDI Co., Ltd.
                                                                                                       Samsung SDI (Malaysia) SDN. BHD.
                                                                                                       Samsung SDI Mexico S.A. DE C.V.
                                                                                                       Samsung SDI Brasil Ltda.
  Defendants' Motion for Summary Judgment on Plaintiffs' Umbrella Damages           Docket No. 2977    Shenzen Samsung SDI Co., Ltd.
                                                                                                       Tianjin Samsung SDI Co., Ltd.
                                                                                                       Hitachi, Ltd.
                                                                                                       Hitachi Displays, Ltd. (n/k/a Japan Display Inc.)
                                                                                                       Hitachi Asia, Ltd.
                                                                                                       Hitachi America, Ltd.
                                                                                                       Hitachi Electronic Devices (USA), Inc.
                                                                                                       Chunghwa Picture Tubes, Ltd.
                                                                                                       Chunghwa Picture Tubes (Malaysia)
                                                                                                       LG Electronics, Inc.
                                                                                                       LG Electronics U.S.A., Inc.
                                                                                                       Thomson SA
                                                                                                       Thomson Consumer Electronics, Inc.
                                                                                                       Mitsubishi Electric Corporation
                                                                                                       Mitsubishi Electric US, Inc.
                                                                                                       Mitsubishi Electric Visual Solutions America, Inc.
                                                                                                       Technologies Displays Americas LLC
                                                                                                       Beijing Matsushita Color CRT Co., Ltd.




In re Cathode Ray Tubes
(CRT) Antitrust Litigation                                                            1                                                       Case No. 3:07-cv-5944, MDL No. 1917
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  NAME OF MOTION                                                                         DOCKET NO.          FILING DEFENDANT


                                                                                                             Samsung SDI America, Inc.
                                                                                                             Samsung SDI Co., Ltd.
                                                                                                             Samsung SDI (Malaysia) SDN. BHD.
                                                                                                             Samsung SDI Mexico S.A. DE C.V.
                                                                                                             Samsung SDI Brasil Ltda.
                                                                                                             Shenzen Samsung SDI Co., Ltd.
                                                                                                             Tianjin Samsung SDI Co., Ltd.
                                                                                                             Panasonic Corporation (f/k/a Matsushita Electric Industrial Co., Ltd.)
                                                                                                             Panasonic Corporation of North America
                                                                                                             MT Picture Display Co., Ltd.
                                                                                                             Koninklijke Philips N.V.
                                                                                                             Philips Electronics North America Corporation
                                                                                                             Philips Taiwan Ltd.
                                                                                                             Philips do Brasil, Ltda.
                                                                                                             Beijing-Matsushita Color CRT Company, Ltd.
                                                                                                             Hitachi, Ltd.
  Defendants’ Motion for Partial Summary Judgment as to Indirect Purchaser Plaintiffs'
                                                                                           Docket No. 2978   Hitachi Displays, Ltd. (n/k/a Japan Display Inc.)
  and Certain Direct Action Plaintiffs' State Law Claims on Statute of Limitations Grounds
                                                                                                             Hitachi Asia, Ltd.
                                                                                                             Hitachi America, Ltd.
                                                                                                             Hitachi Electronic Devices (USA), Inc.
                                                                                                             Toshiba Corporation
                                                                                                             Toshiba America, Inc.
                                                                                                             Toshiba America Information Systems, Inc.
                                                                                                             Toshiba America Consumer Products, L.L.C.
                                                                                                             Toshiba America Electronic Components, Inc.
                                                                                                             Chunghwa Picture Tubes, Ltd.
                                                                                                             Chunghwa Picture Tubes (Malaysia) SDN. BHD.
                                                                                                             LG Electronics, Inc.
                                                                                                             LG Electronics U.S.A., Inc.
                                                                                                             LG Electronics Taiwan Taipei Co., Ltd.
                                                                                                             Mitsubishi Electric Corporation
                                                                                                             Mitsubishi Electric US, Inc.
                                                                                                             Mitsubishi Electric Visual Solutions America, Inc.



                                                                                                             Thomson Consumer Electronics, Inc.
                                                                                                             Toshiba Corporation
                                                                                                             Toshiba America, Inc.
  Thomson Consumer’s Motion for Summary Judgment and Partial Summary Judgment            Docket No. 2981
                                                                                                             Toshiba America Information Systems, Inc.
                                                                                                             Toshiba America Consumer Products, L.L.C.
                                                                                                             Toshiba America Electronic Components, Inc.



                                                                                                             Samsung SDI Co., Ltd.
                                                                                                             Samsung SDI America, Inc.
                                                                                                             Samsung SDI (Malaysia) SDN. BHD.
                                                                                                             Samsung SDI Mexico S.A. de C.V.
                                                                                                             Samsung SDI Brasil Ltda.
  SDI Defendants’ Motion for Summary Judgment for Lack of Standing as to Direct
                                                                                                             Shenzen Samsung SDI Co., Ltd.
  Action Plaintiffs’ Sherman Act Damage Claims Based on CRT Product Purchases from Docket No. 2983
                                                                                                             Tianjin Samsung SDI Co., Ltd.
  Samsung Electronics
                                                                                                             Toshiba Corporation
                                                                                                             Toshiba America, Inc.
                                                                                                             Toshiba America Information Systems, Inc.
                                                                                                             Toshiba America Consumer Products, L.L.C.
                                                                                                             Toshiba America Electronic Components, Inc.


  Defendant Technologies Displays Americas LLC's Motion for Summary Judgment             Docket No. 2984     Technologies Displays Americas LLC


  Beijing Matsushita Color CRT Co., Ltd.’s Motion to Dismiss Under Rule 12(b)(2) and
                                                                                         Docket No. 2987     Beijing Matsushita Color CRT Co., Ltd.
  Motion for Summary Judgment Under Rule 56 for Lack of Personal Jurisdiction



  Defendant Beijing Matsushita Color CRT Co., Ltd.'s Motion for Summary Judgment for
  Failure to Adduce Evidence Sufficient to State a Claim in Light of the FTAIA and for Docket No. 2990       Beijing Matsushita Color CRT Co., Ltd.
  Lack of Standing to Seek Injunctive Relief




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(CRT) Antitrust Litigation                                                                 2                                                       Case No. 3:07-cv-5944, MDL No. 1917
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  NAME OF MOTION                                                                      DOCKET NO.        FILING DEFENDANT


                                                                                                        Toshiba Corporation
                                                                                                        Toshiba America, Inc.
                                                                                                        Toshiba America Information Systems, Inc.
                                                                                                        Toshiba America Consumer Products, L.L.C.
                                                                                                        Toshiba America Electronic Components, Inc.
                                                                                                        Koninklijke Philips N.V.
                                                                                                        Philips Electronics North America Corporation
                                                                                                        Philips Taiwan Ltd.
                                                                                                        Philips do Brasil, Ltda.
                                                                                                        Panasonic Corporation (f/k/a Matsushita Electric Industrial Co., Ltd.)
                                                                                                        Panasonic Corporation of North America
                                                                                                        MT Picture Display Co., Ltd.
                                                                                                        Samsung SDI America, Inc.
                                                                                                        Samsung SDI Co., Ltd.
                                                                                                        Samsung SDI (Malaysia) SDN. BHD.
                                                                                                        Samsung SDI Mexico S.A. DE C.V.
                                                                                                        Samsung SDI Brasil Ltda.
  Defendants’ Motion for Summary Judgment With Respect to MARTA                       Docket No. 2994
                                                                                                        Shenzen Samsung SDI Co., Ltd.
                                                                                                        Tianjin Samsung SDI Co., Ltd.
                                                                                                        Hitachi, Ltd.
                                                                                                        Hitachi Displays, Ltd. (n/k/a Japan Display Inc.)
                                                                                                        Hitachi Asia, Ltd.
                                                                                                        Hitachi America Ltd.
                                                                                                        Hitachi Electronic Devices (USA), Inc.
                                                                                                        Chunghwa Picture Tubes, Ltd.
                                                                                                        Chunghwa Picture Tubes (Malaysia)
                                                                                                        LG Electronics, Inc.
                                                                                                        LG Electronics U.S.A., Inc.
                                                                                                        Thomson SA
                                                                                                        Thomson Consumer Electronics, Inc.
                                                                                                        Mitsubishi Electric Corporation
                                                                                                        Mitsubishi Electric US, Inc.
                                                                                                        Mitsubishi Electric Visual Solutions America, Inc.
                                                                                                        Technologies Displays Americas LLC



                                                                                                        Toshiba Corporation,
                                                                                                        Toshiba America, Inc.,
  The Toshiba Defendants' Motion for Summary Judgment Concerning Withdrawal           Docket No. 2995   Toshiba America Consumer Products, LLC,
                                                                                                        Toshiba America Information Systems, Inc.,
                                                                                                        Toshiba America Electronic Components, Inc.


                                                                                                        LG Electronics, Inc.
                                                                                                        LG Electronics U.S.A., Inc.
                                                                                                        Toshiba Corporation
                                                                                                        Toshiba America, Inc.
                                                                                                        Toshiba America Information Systems, Inc.
                                                                                                        Toshiba America Consumer Products, L.L.C.
  Defendants' Joint Motion for Partial Summary Judgment Against Costco on Choice of
                                                                                      Docket No. 2997   Toshiba America Electronic Components, Inc.
  Law Grounds
                                                                                                        Hitachi, Ltd.
                                                                                                        Hitachi Displays, Ltd. (n/k/a Japan Display Inc.)
                                                                                                        Hitachi Asia, Ltd.
                                                                                                        Hitachi America, Ltd.
                                                                                                        Hitachi Electronic Devices (USA), Inc.
                                                                                                        Technologies Displays Americas LLC




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(CRT) Antitrust Litigation                                                             3                                                       Case No. 3:07-cv-5944, MDL No. 1917
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  NAME OF MOTION                                                                     DOCKET NO.        FILING DEFENDANT


                                                                                                       LG Electronics, Inc.
                                                                                                       LG Electronics U.S.A., Inc.
                                                                                                       Panasonic Corporation (f/k/a Matsushita Electric Industrial Co., Ltd.)
                                                                                                       MT Picture Display Co., Ltd.
                                                                                                       Hitachi, Ltd.
                                                                                                       Hitachi Displays, Ltd. (n/k/a Japan Display Inc.)
                                                                                                       Hitachi Asia, Ltd.
                                                                                                       Hitachi America, Ltd.
                                                                                                       Hitachi Electronic Devices (USA), Inc.
                                                                                                       Samsung SDI America, Inc.
  Defendants' Joint Motion for Partial Summary Judgment Against Electrograph, P.C.                     Samsung SDI Co., Ltd.
                                                                                     Docket No. 3000
  Richard and Marta on Choice Of Law Grounds                                                           Samsung SDI (Malaysia) SDN. BHD.
                                                                                                       Samsung SDI Mexico S.A. DE C.V.
                                                                                                       Samsung SDI Brasil Ltda.
                                                                                                       Shenzen Samsung SDI Co., Ltd.
                                                                                                       Tianjin Samsung SDI Co., Ltd.
                                                                                                       Beijing-Matsushita Color CRT Company, Ltd.
                                                                                                       Thomson SA
                                                                                                       Thomson Consumer Electronics, Inc.
                                                                                                       Mitsubishi Electric Corporation
                                                                                                       Mitsubishi Electric US, Inc.
                                                                                                       Mitsubishi Electric Visual Solutions America, Inc.



                                                                                                       Panasonic Corporation (f/k/a Matsushita Electric Industrial Co., Ltd.)
                                                                                                       Panasonic Corporation of North America
                                                                                                       Toshiba Corporation
  Defendants Panasonic Corporation of North America’s and Panasonic Corporation’s
                                                                                     Docket No. 3001   Toshiba America, Inc.
  Motion for Summary Judgment
                                                                                                       Toshiba America Information Systems, Inc.
                                                                                                       Toshiba America Consumer Products, L.L.C.
                                                                                                       Toshiba America Electronic Components, Inc.



                                                                                                       LG Electronics, Inc.
                                                                                                       LG Electronics USA, Inc.
                                                                                                       Panasonic Corporation (f/k/a Matsushita Electric Industrial Co., Ltd.)
                                                                                                       Panasonic Corporation of North America
                                                                                                       MT Picture Display Co., Ltd.
                                                                                                       Toshiba Corporation
                                                                                                       Toshiba America, Inc.
                                                                                                       Toshiba America Information Systems, Inc.
                                                                                                       Toshiba America Consumer Products, L.L.C.
                                                                                                       Toshiba America Electronic Components, Inc.
                                                                                                       Hitachi, Ltd.
                                                                                                       Hitachi Displays, Ltd. (n/k/a Japan Display Inc.)
  Defendants' Joint Motion For Partial Summary Judgment Against CompuCom Systems,                      Hitachi Asia, Ltd.
                                                                                  Docket No. 3002
  Inc. on Choice Of Law Grounds                                                                        Hitachi America, Ltd.
                                                                                                       Hitachi Electronic Devices (USA), Inc.
                                                                                                       Samsung SDI America, Inc.
                                                                                                       Samsung SDI Co., Ltd.
                                                                                                       Samsung SDI (Malaysia) SDN. BHD.
                                                                                                       Samsung SDI Mexico S.A. DE C.V.
                                                                                                       Samsung SDI Brasil Ltda.
                                                                                                       Shenzen Samsung SDI Co., Ltd.
                                                                                                       Tianjin Samsung SDI Co., Ltd.
                                                                                                       Koninklijke Philips N.V.
                                                                                                       Philips Electronics North America Corporation
                                                                                                       Chunghwa Picture Tubes, Ltd.
                                                                                                       Chunghwa Picture Tubes (Malaysia) Sdn. Bhd.



                                                                                                       Koninklijke Philips N.V.
                                                                                                       Philips Electronics North America Corporation
                                                                                                       Samsung SDI America, Inc.
                                                                                                       Samsung SDI Co., Ltd.
                                                                                                       Samsung SDI (Malaysia) SDN. BHD.
                                                                                                       Samsung SDI Mexico S.A. DE C.V.
  Defendants’ Joint Motion for Summary Judgment Based Upon Plaintiffs’ Foreign                         Samsung SDI Brasil Ltda.
                                                                                     Docket No. 3003
  Transactions Barred by the FTAIA                                                                     Shenzen Samsung SDI Co., Ltd.
                                                                                                       Tianjin Samsung SDI Co., Ltd.
                                                                                                       Mitsubishi Electric Corporation
                                                                                                       Mitsubishi Electric US, Inc.
                                                                                                       Mitsubishi Electric Visual Solutions America, Inc.
                                                                                                       Chunghwa Picture Tubes, Ltd.
                                                                                                       Chunghwa Picture Tubes (Malaysia) SDN. BHD.




In re Cathode Ray Tubes
(CRT) Antitrust Litigation                                                            4                                                      Case No. 3:07-cv-5944, MDL No. 1917
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  NAME OF MOTION                                                                      DOCKET NO.        FILING DEFENDANT


                                                                                                        LG Electronics, Inc.
                                                                                                        LG Electronics USA, Inc.
                                                                                                        Panasonic Corporation (f/k/a Matsushita Electric Industrial Co., Ltd.)
                                                                                                        MT Picture Display Co., Ltd.
                                                                                                        Hitachi, Ltd.
                                                                                                        Hitachi Displays, Ltd. (n/k/a Japan Display Inc.)
                                                                                                        Hitachi Asia, Ltd.
                                                                                                        Hitachi America, Ltd.
  Defendants’ Joint Motion for Partial Summary Judgment Against Magnolia Hi-Fi on
                                                                                      Docket No. 3004   Hitachi Electronic Devices (USA), Inc.
  Choice Of Law Grounds
                                                                                                        Beijing-Matsushita Color CRT Company, Ltd.
                                                                                                        Thomson SA
                                                                                                        Thomson Consumer Electronics, Inc.
                                                                                                        Mitsubishi Electric Corporation
                                                                                                        Mitsubishi Electric US, Inc.
                                                                                                        Mitsubishi Electric Visual Solutions America, Inc.
                                                                                                        Chunghwa Picture Tubes, Ltd.
                                                                                                        Chunghwa Picture Tubes (Malaysia) SDN. BHD.




                                                                                                        Toshiba Corporation
                                                                                                        Toshiba America, Inc.
                                                                                                        Toshiba America Consumer Products, LLC
                                                                                                        Toshiba America Information Systems, Inc.
                                                                                                        Toshiba America Electronic Components, Inc.
                                                                                                        Koninklijke Philips N.V.
                                                                                                        Philips Electronics North America Corporation
                                                                                                        Philips Taiwan Ltd.
                                                                                                        Philips do Brasil, Ltda.
                                                                                                        Panasonic Corporation (f/k/a Matsushita Electric Industrial Co., Ltd.)
                                                                                                        Panasonic Corporation of North America
                                                                                                        MT Picture Display Co., Ltd.
                                                                                                        Samsung SDI America, Inc.
                                                                                                        Samsung SDI Co., Ltd.
                                                                                                        Samsung SDI (Malaysia) SDN. BHD.
                                                                                                        Samsung SDI Mexico S.A. DE C.V.
  Defendants’ Motion for Partial Summary Judgment on Plaintiffs’ Indirect Purchaser
                                                                                      Docket No. 3006   Samsung SDI Brasil Ltda.
  Claims Based on Foreign Sales
                                                                                                        Shenzen Samsung SDI Co., Ltd.
                                                                                                        Tianjin Samsung SDI Co., Ltd.
                                                                                                        Hitachi, Ltd.
                                                                                                        Hitachi Displays, Ltd. (n/k/a Japan Display Inc.)
                                                                                                        Hitachi Asia, Ltd.
                                                                                                        Hitachi America, Ltd.
                                                                                                        Hitachi Electronic Devices (USA), Inc.
                                                                                                        Chunghwa Picture Tubes, Ltd.
                                                                                                        Chunghwa Picture Tubes (Malaysia)
                                                                                                        Thomson SA
                                                                                                        Thomson Consumer Electronics, Inc.
                                                                                                        Mitsubishi Electric Corporation
                                                                                                        Mitsubishi Electric US, Inc.
                                                                                                        Mitsubishi Electric Visual Solutions America, Inc.
                                                                                                        Technologies Displays Americas LLC
                                                                                                        Beijing Matsushita Color CRT Co., Ltd.



                                                                                                        Panasonic Corporation (f/k/a Matsushita Electric Industrial Co., Ltd.)
  Defendants’ Joint Motion for Summary Judgment Based Upon Plaintiffs’ Failure to
                                                                                      Docket No. 3008   Panasonic Corporation of North America
  Distinguish Between Actionable and Non-Actionable Damages Under the FTAIA
                                                                                                        MT Picture Display Co., Ltd.




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(CRT) Antitrust Litigation                                                             5                                                      Case No. 3:07-cv-5944, MDL No. 1917
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  NAME OF MOTION                                                                          DOCKET NO.        FILING DEFENDANT


                                                                                                            Panasonic Corporation (f/k/a Matsushita Electric Industrial Co., Ltd.)
                                                                                                            Panasonic Corporation of North America
                                                                                                            MT Picture Display Co., Ltd.
                                                                                                            Toshiba Corporation
                                                                                                            Toshiba America, Inc.
                                                                                                            Toshiba America Information Systems, Inc.
                                                                                                            Toshiba America Consumer Products, L.L.C.
                                                                                                            Toshiba America Electronic Components, Inc.
                                                                                                            Koninklijke Philips N.V.
                                                                                                            Philips Electronics North America Corporation
                                                                                                            LG Electronics, Inc.
                                                                                                            LG Electronics USA, Inc.
                                                                                                            LG Electronics Taiwan Taipei Co., Ltd.
                                                                                                            Hitachi, Ltd.
                                                                                                            Hitachi Displays, Ltd. (n/k/a Japan Display, Inc.)
  Certain Defendants’ Motion for Partial Summary Judgment With Respect to DAPs'
                                                                                          Docket No. 3014   Hitachi Asia, Ltd.
  Alleged Direct Damage Claims Based on Purchases from Sanyo
                                                                                                            Hitachi America, Ltd.
                                                                                                            Hitachi Electronic Devices (USA), Inc.
                                                                                                            Samsung SDI America, Inc.
                                                                                                            Samsung SDI Co., Ltd.
                                                                                                            Samsung SDI (Malaysia) SDN. BHD.
                                                                                                            Samsung SDI Mexico S.A. DE C.V.
                                                                                                            Samsung SDI Brasil Ltda.
                                                                                                            Shenzen Samsung SDI Co., Ltd.
                                                                                                            Tianjin Samsung SDI Co., Ltd.
                                                                                                            Thomson SA
                                                                                                            Thomson Consumer Electronics, Inc.
                                                                                                            Mitsubishi Electric Corporation
                                                                                                            Mitsubishi Electric US, Inc.
                                                                                                            Mitsubishi Electric Visual Solutions America, Inc.
                                                                                                            Beijing Matsushita Color CRT Co., Ltd.




                                                                                                            LG Electronics, Inc.
                                                                                                            LG Electronics USA, Inc.
                                                                                                            Panasonic Corporation (f/k/a Matsushita Electric Industrial Co., Ltd.)
                                                                                                            Panasonic Corporation of North America
                                                                                                            MT Picture Display Co., Ltd.
                                                                                                            Toshiba Corporation
                                                                                                            Toshiba America, Inc.
                                                                                                            Toshiba America Information Systems, Inc.
                                                                                                            Toshiba America Consumer Products, L.L.C.
                                                                                                            Toshiba America Electronic Components, Inc.
                                                                                                            Hitachi, Ltd.
                                                                                                            Hitachi Displays, Ltd. (n/k/a Japan Display Inc.)
  Defendants’ Joint Motion for Partial Summary Judgment Against Office Depot on                             Hitachi Asia, Ltd.
                                                                                          Docket No. 3021
  Choice of Law Grounds                                                                                     Hitachi America, Ltd.
                                                                                                            Hitachi Electronic Devices (USA), Inc.
                                                                                                            Samsung SDI America, Inc.
                                                                                                            Samsung SDI Co., Ltd.
                                                                                                            Samsung SDI (Malaysia) SDN. BHD.
                                                                                                            Samsung SDI Mexico S.A. DE C.V.
                                                                                                            Samsung SDI Brasil Ltda.
                                                                                                            Shenzen Samsung SDI Co., Ltd.
                                                                                                            Tianjin Samsung SDI Co., Ltd.
                                                                                                            Koninklijke Philips N.V.
                                                                                                            Philips Electronics North America Corporation
                                                                                                            Chunghwa Picture Tubes, Ltd.
                                                                                                            Chunghwa Picture Tubes (Malaysia) Sdn. Bhd.



  Mitsubishi Electric Defendants' Motion for Partial Summary Judgment as to Direct                          Mitsubishi Electric Corporation
  Action Purchasers' Sherman Act Damages Claims Based on CRT Product Purchases            Docket No. 3026   Mitsubishi Electric US, Inc.
  From NEC Corporation and NEC-Mitsubishi Electric Visual Systems Corporation                               Mitsubishi Electric Visual Solutions America, Inc.


                                                                                                            Philips Electronics North America Corporation
                                                                                                            Philips Taiwan Limited
                                                                                                            Philips do Brasil Ltda.
  Defendants Philips Electronics North America Corporation's, Philips Taiwan Limited's,                     Toshiba Corporation
                                                                                          Docket No. 3027
  and Philips do Brasil Ltda's Motion for Partial Summary Judgment                                          Toshiba America, Inc.
                                                                                                            Toshiba America Information Systems, Inc.
                                                                                                            Toshiba America Consumer Products, L.L.C.
                                                                                                            Toshiba America Electronic Components, Inc.




In re Cathode Ray Tubes
(CRT) Antitrust Litigation                                                                 6                                                      Case No. 3:07-cv-5944, MDL No. 1917
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  NAME OF MOTION                                                                         DOCKET NO.        FILING DEFENDANT


                                                                                                           LG Electronics, Inc.
                                                                                                           LG Electronics USA, Inc.
                                                                                                           Panasonic Corporation (f/k/a Matsushita Electric Industrial Co., Ltd.)
                                                                                                           MT Picture Display Co., Ltd.
                                                                                                           Hitachi, Ltd.
                                                                                                           Hitachi Displays, Ltd. (n/k/a Japan Display Inc.)
                                                                                                           Hitachi Asia, Ltd.
                                                                                                           Hitachi America, Ltd.
                                                                                                           Hitachi Electronic Devices (USA), Inc.
                                                                                                           Samsung SDI America, Inc.
                                                                                                           Samsung SDI Co., Ltd.
  Defendants' Joint Motion For Partial Summary Judgment Against Certain Direct Action                      Samsung SDI (Malaysia) SDN. BHD.
                                                                                      Docket No. 3029
  Plaintiffs On Due Process Grounds                                                                        Samsung SDI Mexico S.A. DE C.V.
                                                                                                           Samsung SDI Brasil Ltda.
                                                                                                           Shenzen Samsung SDI Co., Ltd.
                                                                                                           Tianjin Samsung SDI Co., Ltd.
                                                                                                           Beijing-Matsushita Color CRT Company, Ltd.
                                                                                                           Thomson SA
                                                                                                           Thomson Consumer Electronics, Inc.
                                                                                                           Toshiba Corporation
                                                                                                           Toshiba America, Inc.
                                                                                                           Toshiba America Information Systems, Inc.
                                                                                                           Toshiba America Consumer Products, L.L.C.
                                                                                                           Toshiba America Electronic Components, Inc.



                                                                                                           LG Electronics, Inc.
                                                                                                           LG Electronics USA, Inc.
                                                                                                           LG Electronics Taiwan Taipei Co., Ltd.
                                                                                                           Panasonic Corporation (f/k/a Matsushita Electric Industrial Co., Ltd.)
                                                                                                           MT Picture Display Co., Ltd.
                                                                                                           Hitachi, Ltd.
                                                                                                           Hitachi Displays, Ltd. (n/k/a Japan Display Inc.)
                                                                                                           Hitachi Asia, Ltd.
                                                                                                           Hitachi America, Ltd.
                                                                                                           Hitachi Electronic Devices (USA), Inc.
                                                                                                           Samsung SDI America, Inc.
                                                                                                           Samsung SDI Co., Ltd.
  Defendants' Joint Motion For Partial Summary Judgment Against Certain Direct Action
                                                                                      Docket No. 3031      Samsung SDI (Malaysia) SDN. BHD.
  Plaintiffs on State Law Claims Limited To Intrastate Activity
                                                                                                           Samsung SDI Mexico S.A. DE C.V.
                                                                                                           Samsung SDI Brasil Ltda.
                                                                                                           Shenzen Samsung SDI Co., Ltd.
                                                                                                           Tianjin Samsung SDI Co., Ltd.
                                                                                                           Koninklijke Philips N.V.
                                                                                                           Philips Electronics North America Corporation
                                                                                                           Beijing-Matsushita Color CRT Company, Ltd.
                                                                                                           Thomson SA
                                                                                                           Thomson Consumer Electronics, Inc.
                                                                                                           Chunghwa Picture Tubes, Ltd.
                                                                                                           Chunghwa Picture Tubes (Malaysia) Sdn. Bhd.
                                                                                                           Technologies Displays Americas LLC


                                                                                                           LG Electronics, Inc.
  LGE Defendants' Motion for Partial Summary Judgment on FTAIA Grounds                   Docket No. 3032   LG Electronics, U.S.A., Inc.
                                                                                                           LG Electronics, Taiwan Taipei Co., Ltd.


                                                                                                           Koninklijke Philips N.V.
                                                                                                           Philips Electronics North America Corporation
                                                                                                           Philips Taiwan Limited
  Koninklijke Philips N.V.'s, Philips Electronics North America Corporation's, Philips                     Philips do Brasil Ltda.
  Taiwan Limited's, and Philips do Brasil Ltda.'s Motion for Summary Judgment Against    Docket No. 3034   Toshiba Corporation
  Indirect Purchaser Plaintiffs Who Are Natural Persons Residing in California                             Toshiba America, Inc.
                                                                                                           Toshiba America Information Systems, Inc.
                                                                                                           Toshiba America Consumer Products, L.L.C.
                                                                                                           Toshiba America Electronic Components, Inc.


                                                                                                           Mitsubishi Electric Corporation
  Mitsubishi Electric Corporation's Motion for Summary Judgment                          Docket No. 3037   Mitsubishi Electric US, Inc.
                                                                                                           Mitsubishi Electric Visual Solutions America, Inc.




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                                                                                                               Koninklijke Philips N.V.
                                                                                                               Toshiba Corporation
                                                                                                               Toshiba America, Inc.
  Koninklijke Philips N.V.’s Motion for Summary Judgment                                     Docket No. 3040
                                                                                                               Toshiba America Information Systems, Inc.
                                                                                                               Toshiba America Consumer Products, L.L.C.
                                                                                                               Toshiba America Electronic Components, Inc.


                                                                                                               LG Electronics, Inc.
                                                                                                               LG Electronics U.S.A., Inc.
                                                                                                               Samsung SDI America, Inc.
                                                                                                               Samsung SDI Co., Ltd.
                                                                                                               Samsung SDI (Malaysia) SDN. BHD.
                                                                                                               Samsung SDI Mexico S.A. DE C.V.
                                                                                                               Samsung SDI Brasil Ltda.
                                                                                                               Shenzen Samsung SDI Co., Ltd.
                                                                                                               Tianjin Samsung SDI Co., Ltd.
                                                                                                               Panasonic Corporation of North America
                                                                                                               MT Picture Display Co., Ltd.
  Defendants’ Joint Motion for Partial Summary Judgment Against Dell and Sharp                                 Panasonic Corporation (f/k/a Matsushita Electric Industrial Co., Ltd.)
                                                                                             Docket No. 3044
  Plaintiffs on Statute of Limitations Grounds                                                                 Koninklijke Philips N.V.
                                                                                                               Philips Electronics North America Corporation
                                                                                                               Thomson SA
                                                                                                               Thomson Consumer Electronics, Inc.
                                                                                                               Mitsubishi Electric Corporation
                                                                                                               Mitsubishi Electric US, Inc.
                                                                                                               Mitsubishi Electric Visual Solutions America, Inc.
                                                                                                               Toshiba Corporation
                                                                                                               Toshiba America, Inc.
                                                                                                               Toshiba America Information Systems, Inc.
                                                                                                               Toshiba America Consumer Products, L.L.C.
                                                                                                               Toshiba America Electronic Components, Inc.



                                                                                                               LG Electronics, Inc.
                                                                                                               LG Electronics U.S.A., Inc.
  LG and Mitsubishi Electric Subsidiaries' Motion for Summary Judgment                       Docket No. 3048   LG Electronics Taiwan Taipei Co., LTD
                                                                                                               Mitsubishi Electric US, Inc.
                                                                                                               Mitsubishi Electric Visual Solutions America, Inc.


                                                                                                               Panasonic Corporation of North America
                                                                                                               MT Picture Display Co., Ltd.
                                                                                                               Panasonic Corporation (f/k/a Matsushita Electric Industrial Co., Ltd.)
                                                                                                               Toshiba Corporation
                                                                                                               Toshiba America, Inc.
                                                                                                               Toshiba America Information Systems, Inc.
                                                                                                               Toshiba America Consumer Products, L.L.C.
                                                                                                               Toshiba America Electronic Components, Inc.
                                                                                                               Koninklijke Philips N.V.
                                                                                                               Philips Electronics North America Corporation
                                                                                                               Philips Taiwan Limited
                                                                                                               Philips do Brasil Ltda.
                                                                                                               LG Electronics, Inc.
                                                                                                               LG Electronics USA, Inc.
                                                                                                               LG Electronics Taiwan Taipei Co., Ltd.
                                                                                                               Hitachi, Ltd.
                                                                                                               Hitachi Displays, Ltd. (n/k/a Japan Display, Inc.)
  Defendants’ Joint Motion for Summary Judgment Against Indirect Purchaser Plaintiffs
                                                                                                               Hitachi Asia, Ltd.
  and Certain Direct Action Plaintiffs for Lack of Antitrust Injury and Antitrust Standing   Docket No. 3050
                                                                                                               Hitachi America, Ltd.
  under Federal and Certain State Laws
                                                                                                               Hitachi Electronic Devices (USA), Inc.
                                                                                                               Samsung SDI America, Inc.
                                                                                                               Samsung SDI Co., Ltd.
                                                                                                               Samsung SDI (Malaysia) SDN. BHD.
                                                                                                               Samsung SDI Mexico S.A. DE C.V.
                                                                                                               Samsung SDI Brasil Ltda.
                                                                                                               Shenzen Samsung SDI Co., Ltd.
                                                                                                               Tianjin Samsung SDI
                                                                                                               Chunghwa Picture Tubes, Ltd.
                                                                                                               Chunghwa Picture Tubes (Malaysia) Co., Ltd.
                                                                                                               Thomson SA
                                                                                                               Thomson Consumer Electronics, Inc.
                                                                                                               Mitsubishi Electric Corporation
                                                                                                               Mitsubishi Electric US, Inc.
                                                                                                               Mitsubishi Electric Visual Solutions America, Inc.
                                                                                                               Beijing-Matsushita Color CRT Company, Ltd.
                                                                                                               Technologies Displays Americas LLC




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                                                                                                         LG Electronics, Inc.
  LGE Defendants’ Motion for Partial Summary Judgment on Standing Grounds             Docket No. 3053    LG Electronics U.S.A., Inc.
                                                                                                         LG Electronics Taiwan Taipei Co., Ltd.

                                                                                                         LG Electronics, Inc.
  LG Electronics, Inc.'s Motion For Partial Summary Judgment on Withdrawal Grounds    Docket No. 3086    LG Electronics U.S.A., Inc.
                                                                                                         LG Electronics Taiwan Taipei Co., Ltd.

  Defendants Chunghwa Picture Tubes, Ltd. And Chunghwa Picture Tubes (Malaysia)
                                                                                                         Chunghwa Picture Tubes, Ltd.
  Sdn. Bhd.'s Motion for Partial Summary Judgment for Lack of Standing as to Viewsonic Docket No. 3102
                                                                                                         Chunghwa Picture Tubes (Malaysia) Sdn. Bhd.
  Corporation


                                                                                                         Mitsubishi Electric Corporation
                                                                                                         Mitsubishi Electric US, Inc.
                                                                                                         Mitsubishi Electric Visual Solutions America, Inc.
                                                                                                         LG Electronics, Inc.
                                                                                                         LG Electronics USA, Inc.
                                                                                                         LG Electronics Taiwan Taipei Co., Ltd.
                                                                                                         Panasonic Corporation (f/k/a Matsushita Electric Industrial Co., Ltd.)
                                                                                                         Panasonic Corporation of North America
                                                                                                         MT Picture Display Co., Ltd.
                                                                                                         Samsung SDI America, Inc.
                                                                                                         Samsung SDI Co., Ltd.
  Defendants' Joint Motion for Summary Judgment Against Viewsonic Corporation Based                      Samsung SDI (Malaysia) SDN. BHD.
                                                                                    Docket No. 3108
  Upon Failure to Provide Evidence to Avoid FTAIA Bar on Foreign Commerce                                Samsung SDI Mexico S.A. DE C.V.
                                                                                                         Samsung SDI Brasil Ltda.
                                                                                                         Shenzen Samsung SDI Co., Ltd.
                                                                                                         Tianjin Samsung SDI Co., Ltd.
                                                                                                         Chunghwa Picture Tubes, Ltd.
                                                                                                         Chunghwa Picture Tubes (Malaysia) Sdn. Bhd.
                                                                                                         Thomson SA
                                                                                                         Thomson Consumer Electronics, Inc.
                                                                                                         Koninklijke Philips N.V.
                                                                                                         Philips Electronics North America Corporation
                                                                                                         Philips Taiwan Limited
                                                                                                         Philips do Brasil Ltda.




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